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18
                         IN THE UNITED STATES DISTRICT COURT
19
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
20
                                       SAN JOSE DIVISION
21
     JOHN STOSSEL, an individual,                  Case Number: 5:21-cv-07385-VKD
22

23                              Plaintiff,         LR 6-2(A) STIPULATION TO
                                                   CONTINUE INITIAL CASE
24         v.                                      MANAGEMENT CONFERENCE AND
                                                   [PROPOSED] ORDER
25   META PLATFORMS, INC., a Delaware
     corporation; SCIENCE FEEDBACK, a French
26   non-profit organization; and CLIMATE
     FEEDBACK, a French non-profit organization,
27
                                Defendants.
28

                                                   STIP TO CONTINUE INITIAL CMC & [PROPOSED] ORDER
                                                                             CASE NO. 5:21-CV-07385
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 1              Pursuant to Civil Local Rules 6-1(b), 6-2, and 7-12, Plaintiff John Stossel, Defendant Meta

 2   Platforms, Inc. (“Meta”), and Defendant Science Feedback 1 (collectively, the “Parties”)

 3   respectfully submit this Stipulation to Continue Initial Case Management Conference. This

 4   stipulated request is supported by the accompanying declaration of Molly M. Jennings.

 5              WHEREAS, Plaintiff John Stossel filed the Complaint on September 22, 2021 (Dkt. No.

 6   1);

 7              WHEREAS, Meta moved to dismiss the Complaint pursuant to Federal Rule of Civil

 8   Procedure 12(b)(6) and to strike the claims asserted against Meta pursuant to California’s

 9   anti-SLAPP statute on November 29, 2021 (Dkt. No. 27, “Meta’s Motion”);
10              WHEREAS, Science Feedback moved to dismiss the Complaint pursuant to Federal Rule
11   of Civil Procedure 12(b)(6) and to strike the claims asserted against Meta pursuant to California’s
12   anti-SLAPP statute on January 31, 2022 (Dkt. No. 50, “Science Feedback’s Motion”);
13              WHEREAS, the Court held a hearing on both Meta’s Motion and Science Feedback’s
14   Motion on April 12, 2022 (Dkt. No. 58);
15              WHEREAS, the Court originally set the initial Case Management Conference (“CMC”)
16   for June 14, 2022 (Dkt. No. 53);
17              WHEREAS, all discovery in this case is stayed as to all the Parties until the Court has
18   issued an order deciding both Meta’s Motion and Science Feedback’s Motion (Dkt. No. 48);
19              WHEREAS, pursuant to parties’ stipulated request, the Court continued the initial CMC
20   until July 19, 2022 (Dkt. No. 60) and then rescheduled it for August 2, 2022 to accommodate
21   counsel’s schedule (Dkt. No. 62);
22              WHEREAS, the parties continue to agree that good cause exists to continue the initial CMC
23   until October 11, 2022 or another date after the Court has issued an order deciding both Meta’s
24   Motion and Science Feedback’s Motion;
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         Erroneously sued as “Science Feedback and Climate Feedback.”
                                                             1
                                                                 STIP TO CONTINUE INITIAL CMC & [PROPOSED] ORDER
                                                                                     CASE NO. 5:21-CV-07385-VKD
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 1          WHEREAS continuing the initial Case Management Conference until the Court has issued

 2   an order deciding both Meta’s Motion and Science Feedback’s Motion will not affect any other

 3   date already set by Court order;

 4          IT IS HEREBY STIPULATED AND AGREED by the Parties that the initial Case

 5   Management Conference currently scheduled for August 2, 2022 shall be continued until

 6   October 11, 2022, or such other date that may be convenient for the Court after it has issued an

 7   order deciding both Meta’s Motion and Science Feedback’s Motion.

 8

 9                                                       DHILLON LAW GROUP INC.
10    Dated: July 5, 2022                                By:    /s/ Krista L. Baughman
                                                                KRISTA L. BAUGHMAN
11

12                                                       Attorneys for Plaintiff John Stossel

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14
      Dated: July 5, 2022                                WILMER CUTLER PICKERING
15
                                                          HALE AND DORR LLP
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                                                         By:    /s/ Molly M. Jennings
17                                                              MOLLY M. JENNINGS
18                                                       Attorneys for Defendant Meta Platforms, Inc.
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21    Dated: July 5, 2022                                DAVIS WRIGHT TREMAINE LLP
22                                                       By:    /s/ Thomas R. Burke
23                                                              THOMAS R. BURKE

24                                                       Attorneys for Defendant Science Feedback

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                                                         STIP TO CONTINUE INITIAL CMC & [PROPOSED] ORDER
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 1                                       [PROPOSED] ORDER

 2   PURSUANT TO STIPULATION, IT IS SO ORDERED that:
 3          The initial Case Management Conference currently scheduled for August 2, 2022 shall be
 4   continued until October 11, 2022 or another date after the Court has issued an order deciding
 5   both Meta’s Motion and Science Feedback’s Motion.
 6

 7             July 6, 2022
      Dated: ________________________
 8                                                            By: Hon. Virginia K. DeMarchi

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                                                         STIP TO CONTINUE INITIAL CMC & [PROPOSED] ORDER
                                                                             CASE NO. 5:21-CV-07385-VKD
       Case 5:21-cv-07385-VKD Document 64 Filed 07/06/22 Page 5 of 5




 1                                   ATTORNEY ATTESTATION

 2          I, Molly M. Jennings, am the ECF User whose ID and password are being used to file this

 3   Stipulation and accompanying proposed order. In compliance with Civil Local Rule 5-l(h)(3), I

 4   hereby attest that concurrence in the filing of this document and all attachments has been

 5   obtained from each signatory.

 6

 7    Dated: July 5, 2022                                By:   /s/ Molly M. Jennings
                                                                Molly M. Jennings
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                                                         STIP TO CONTINUE INITIAL CMC & [PROPOSED] ORDER
                                                                             CASE NO. 5:21-CV-07385-VKD
